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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA         *
                                 *
      Plaintiff                  *
                                 *
v.                               *                   Criminal No. 04-375(SEC)
                                 *
FREDDIE CANCEL CAMACHO           *
                                 *
      Defendant                  *
**********************************
                                          ORDER
       Pending before the Court is Defendant’s motion for reconsideration of his sentence
(Docket # 108). Defendant requests that the Court correct the sentence imposed and grant
him the additional third point for acceptance of responsibility provided for by Guideline
§3E1.1(b) of the U.S. Sentencing Guidelines Manual (“the Guidelines”). After reviewing
Defendant’s motion, the sentencing transcript (Attachment # 1), and the applicable section
of the Guidelines, for the reasons set forth below, we find that Defendant’s request should
be DENIED.
       Section 3E1.1(b) provides that:
       If the defendant qualifies for a decrease under subsection (a), the offense level
       determined prior to the operation of subsection (a) is level 16 or greater, and
       upon motion of the government stating that the defendant has assisted
       authorities in the investigation or prosecution of his own misconduct by timely
       notifying authorities of his intention to enter a plea of guilty, thereby
       permitting the government to avoid preparing for trial and permitting the
       government and the court to allocate their resources efficiently, decrease the
       offense level by 1 additional level.
USSG § 3E1.1(b)(2004)(emphasis added). At the sentencing hearing held on May 20, 2005,
Defense counsel inquired as to whether the Government would provide the third point for
acceptance (Tr.23). In response, the Government declined to recommend that Defendant
receive this third point (Tr. 23-24). Contrary to Defendant’s assertion, the Court then
expressed its agreement with the Government’s position (Tr. 24).
       Defendant argues that because the Guidelines are merely advisory after the Supreme
Court’s decision in United States v. Booker, 125 S.Ct. 738 (2005), the Government’s motion
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is not necessary to obtain the third point reduction. The Supreme Court in Booker held that
“[t]he district courts, while not bound to apply the Guidelines, must consult those Guidelines
and take them into account when sentencing.” Id. at 767. Thus, this Court will continue to
follow the Guidelines unless a strong reason is shown justifying a different sentence. See
United States v. Wilson, 350 F. Supp. 2d 910 (D. Utah 2005)(finding that in all but the most
unusual circumstances, the recommended Guidelines sentence will still be the most
appropriate sentence). No such strong reason has been presented in the instant case.
Accordingly, Defendant’s request for reconsideration is DENIED.

              SO ORDERED.
              In San Juan, Puerto Rico, this 27 th day of May, 2005.

                                           S/ Salvador E. Casellas
                                           SALVADOR E. CASELLAS
                                           United States District Judge
